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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff,
V. No. 4:24 MJ 7039 SPM
DERRICK DARNELL CLARK,
Defendant.

MOTION FOR PRETRIAL DETENTION AND HEARING

Comes now the United States of America, by and through its attorneys, Sayler A. Fleming,
United States Attorney for the Eastern District of Missouri, and Angie E. Danis, Assistant United
States Attorneys for said District, and move this Court to order the defendant detained pending
trial, and further requests that a detention hearing be held at the time defendant’s initial appearance
before the United States Magistrate Judge pursuant to Title 18, United States Code, Section 3141,
et. seq., and per current guidance from the Court.

As for its grounds for detention, the government requests this Court to consider the
following factors pursuant to Title 18, United States Code, Section 3142.

Presumption of Detention

1. The defendant is charged with offenses for which the presumption of detention
applies in this matter.

The Nature and Circumstances of the Offense

Za Title 18, United States Code, Section 3142(g) requires this Court to consider the
nature and characteristics of the offense charged, including whether the offense is a controlled

substance offense or a crime of violence. The instant offense involves not only a conspiracy to
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distribute controlled substances, but the discharge of one or more firearms in furtherance thereof
which resulted in the death of victim J.R. and serious physical injury to victim M.H.

The Weight of the Evidence Against the Defendant

3. Section 3142(g)(2) requires this Court to consider the weight of the evidence
against the defendant. The government submits that the evidence against the defendant is strong
and relies on the facts as articulated in the Complaint Affidavit in reliance on same.

The History and Characteristics of the Defendant

4, The defendant does not have any criminal history that is known to the Government

at this time.

The Nature and Seriousness of the Danger to the Community

Ds The defendant engaged in the commission of a drug-related homicide and fled after
the commission thereof. It is difficult to imagine a greater danger to the community than one
engaged in violence directly tied to narcotics offenses.

Risk of Flight

6. There a serious risk that the defendant will flee because she is facing a significant

sentence in this case, based on the severity of the charges.
Conclusion

7. The government submits that when considering all of the factors outlined in Title
18, United States Code, § 3142(g), the factors weigh heavily in favor of detention. There is clear
and convincing evidence that no condition or combination of conditions that will reasonably assure

the safety of any other person and the community as well as the appearance of the defendant.
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Respectfully submitted,

SAYLER A. FLEMING
United States Attorney

/s/ Angie E. Danis
ANGIE E. DANIS, #64805MO
Assistant United States Attorney

